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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                )
                                                                      '21 MJ1537
                                         )     Magistrate Case No. _ _ _ _ _ __
             Plaintiff,                  )
                                         )     COMPLAINT FOR VIOLATION OF:
             V.                          )
                       )                       Title 8, U.S.C., Sec. 1324(a)(2)(B)(iii)
Francisco TENORIO,     )                       Bringing in Unlawful Alien( s)
                       )                       Without Presentation
            Defendant. )
_ _ _ _ _ _ _ _)


      The undersigned complainant, being duly sworn, states:

       On or about April 22, 2021, within the Southern District of California,
Defendant, Francisco TENORIO, with the intent to violate the immigration laws of
the United States, knowingly and in reckless disregard of the fact that alien, namely,
J.G.L., had not received prior official authorization to come to, enter and reside in the
United States, did bring to the United States said alien, and upon arrival did not bring
and present said alien immediately to an appropriate immigration officer at a
designated port of entry; in violation of Title 8, United States Code, Section
1324(a)(2)(B)(iii).

      And the complainant further states that this complaint is based on the attached
statement of facts which is incorporated herein by reference.



                                          GNATURE OF COMPLAINANT
                                        Ramon A. Galindo, CBP Enforcement Officer
                                        U.S. Customs and Border Protection

Sworn and attested to under oath by telephone, in accordance with Federal Rule of
Criminal Procedure 4.1 on April 23, 202.



                                        HON. MITCHELL D. DEMBIN
                                        UNITED STATES MAGISTRATE mDGE
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                       PROBABLE CAUSE STATEMENT

The complainant states that J.G.L., is a citizen of a country other than the United
States; that said alien has admitted he is deportable; that his testimony is material,
that it is impractical to secure his attendance at trial by subpoena and that he is a
material witness in relation to this criminal charge and should be held or admitted
to bail as prescribed in Title 18, United States Code, Section 3144.

On April 22, 2021, at approximately 1:55 A.M., Francisco TENORJO (Defendant),
applied for entry into the United States from Mexico through the Otay Mesa,
California Port of Entry primary vehicle lanes. Defendant was the driver and sole
visible occupant of a white Kia Soul bearing California license plates. Upon
inspection before a United States Customs and Border Protection (CBP) Officer,
Defendant presented his United States passport book as his entry document and
stated he was going to Los Angeles, California with nothing to declare from
Mexico. At this time, a Canine Enforcement Officer (CEO) was conducting
vehicle roving operations when his assigned Human Detection Narcotic Detector
Dog approached and alerted to the Defendant's vehicle during primary inspection.
The CEO conducted an inspection of Defendant's vehicle and discovered one
individual concealed in the rear bumper. The Defendant was removed from the
vehicle, secured and escorted to the Security Office by CBP Officers. A CBP
Officer drove the vehicle into the vehicle secondary lot for further inspection.

In the vehicle secondary lot, a CBP Officer removed Defendant's personal
property from the cargo area and observed screws holding a plastic cover in place.
The CBP Officer proceeded to remove the screws and the plastic cover which
revealed a non-factory rear bumper compartment with one individual attempting to
elude inspection. CBP Officers assisted and removed the individual who was later
identified, as J.G.L., a citizen of Mexico without legal documents to enter the
United States, and now held as a Material Witness.

A videotaped interview was conducted with Material Witness. Material Witness
stated he is a citizen of Mexico without lawful documents to enter or reside in the
United States.       Material Witness stated his cousin made the smuggling
arrangements and was going to pay an unknown smuggling fee. Material Witness
stated he was going to Los Angeles, California. Material Witness said Defendant
asked him multiple times if he was fine during the drive to the border. Material
Witness stated Defendant gave him final instructions not to talk prior to being
apprehended.


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